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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

CHRISTOPHER KNOX (#B-61090),                 )
                                             )
                       PLAINTIFF,            )
                                             )
              v.                             )    CASE NO. 1:20-cv-4225
                                             )
DR. CATHERINE LARRY                          )    HON. CHARLES R. NORGLE, SR.
                                             )
               NOMINAL DEFENDANT.            )


                         FIRST AMENDED COMPLAINT

       Christopher Knox complains of Defendant, Dr. Catherine Larry, as follows:

                                       I. PARTIES

       1.     Plaintiff Christopher Knox is an inmate incarcerated by the Illinois

Department of Corrections (“IDOC”). At all times relevant to this action, Mr. Knox was

under the care and custody of the IDOC at the Joliet Treatment Center located at 2848

West McDonough St., Joliet, Illinois 60436 (the "Treatment Center"). Mr. Knox is

presently under the care and custody of the IDOC at the Treatment Center.

       2.     Dr. Catherine Larry is an individual who, on information and belief, is the

current warden of the Treatment Center. Mr. Knox is suing Dr. Larry in a nominal

capacity in order to initiate discovery and obtain the full and complete identity of the

individuals named in this Complaint.

                       II.     JURISDICTION AND VENUE

       3.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C.

§ 1331 (federal question) in that this case involves a cause of action under the Eighth

Amendment to the United States Constitution and 42 U.S.C. § 1983.
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         4.      Venue is proper in this Court, pursuant to 28 U.S.C. § 1391, in that the

Defendants reside in this judicial district, and a substantial part of the events giving rise

to the claim occurred in this district.

                         III.    STATEMENT OF THE FACTS

         5.      Plaintiff Knox (hereafter “Mr. Knox”) has a history of mental illness

accompanied by attempts of suicide and self-mutilation.

         6.      Prior to being transferred to the Treatment Center, Mr. Knox’s condition

was effectively treated through medication and one-on-one therapy. Mr. Knox received

no further therapy after arriving at the Treatment Center. Despite Mr. Knox’s repeated

requests to continue treating his mental illness through one-on-one therapy, the Treatment

Center refused to provide such treatment.

         7.      On September 28, 2019, Mr. Knox was experiencing thoughts of suicide

and self-harm.

         8.      Mr. Knox informed Correctional Training Officer (“CTO”) Johnson, CTO

Greer, and Lieutenant Clark—employees of the Treatment Center—of the suicidal

ideation he was experiencing and requested the assistance of a mental health professional.

Even though CTO Johnson, CTO Greer, and Lieutenant Clark were on notice of the need

for an immediate mental health intervention, not one of them retrieved a mental health

professional for Mr. Knox. Instead, they sent him back to his cell.

         9.      Thereafter, Mr. Knox engaged in self-mutilation by folding an ink

cartridge into the shape of a “V” and inserting the pointed end of the ink cartridge into his

urethra. The ink cartridge was inserted far enough internally to cause a blockage in Mr.

Knox's urethra. As a result of the blockage, Mr. Knox began experiencing swelling in his




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bladder and groin area, difficulty urinating, blood in his urine, and severe pain and

suffering.

         10.    Immediately following the incident, Mr. Knox verbally informed CTO

Johnson, CTO Greer, and Lieutenant Clark of the incident of self-mutilation and plead

with them to send him for medical treatment. Despite Mr. Knox’s request - and repeated

requests thereafter (while in obvious pain to any reasonable observer) - CTO Johnson,

CTO Greer, and Lieutenant Clark refused to send Mr. Knox for medical treatment.

         11.    At approximately 9:30 p.m. on September 28, 2019, Mr. Knox made

another desperate request for medical treatment to CTO Johnson and CTO Greer while

both individuals conducted a routine count of the inmates. Both CTO Johnson and CTO

Greer ignored Mr. Knox’s request and left Mr. Knox in his cell without medical

treatment, even though it was clear to any reasonable observer that Mr. Knox was in need

of medical treatment.

         12.    The following day, on September 29, 2019, Mr. Knox informed a nurse at

the Treatment Center, Nurse Bear, of his medical condition and made a request to receive

medical attention. Despite Mr. Knox informing Nurse Bear of his injuries and resulting

pain he was experiencing, Bear refused to fulfill Mr. Knox’s request and Mr. Knox did

not receive any medical treatment.

         13.    On two separate occasions in or about October 2019, Mr. Knox requested

medical treatment for the above referenced injuries from Dr. Osmundson and Dr. Bautista

while they conducted routine rounds in the segregation unit of the Treatment Center. Mr.

Knox explained to both doctors that he was experiencing pain, discomfort, swelling in his

groin area, and was urinating blood. Despite having never performed a physical




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examination on Mr. Knox, both doctors informed Mr. Knox that the pen would pass

through Mr. Knox’s urethra while urinating and walked away.

         14.    In or about November 2019, Mr. Knox again requested medical treatment

from Nurse Bear for the continued pain and discomfort he was feeling as a result of the

foreign body lodged in his urethra. Upon hearing of his condition and continued pain,

Nurse Bear informed Mr. Knox that there was nothing she could do about the ink

cartridge being stuck in his urethra and refused to submit Mr. Knox for an appointment to

see a doctor. Nurse Bear stated that Mr. Knox would have to urinate the foreign body out,

despite it having been well over a month since Mr. Knox sustained his injury and Mr.

Knox had still not passed the ink cartridge by urinating.

         15.    In or about December 2019, Mr. Knox made multiple requests for medical

treatment for the above referenced injuries as he still felt the ink cartridge stuck in his

urethra and had not yet urinated it out over two months later. Multiple nurses at the

Treatment Center—Nurse Resuali, Nurse Dodson, and Nurse Bear— were each put on

notice of Mr. Knox's condition and the pain and discomfort he was experiencing, but

each refused Mr. Knox’s request to be examined by a doctor and have the foreign body

removed from his urethra.

         16.    In or about January 2020, Mr. Knox requested medical treatment and the

removal of the foreign body from his urethra from Dr. Prasad. Mr. Knox informed Dr.

Prasad that the medication he had been taking for shoulder pain was not working to

address the pain he was experiencing in his groin area, that he had still not urinated out

the ink cartridge, and that he was experiencing increased pain and suffering. Dr. Prasad




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made no attempt to remove the foreign body from Mr. Knox’s urethra. In fact, Dr. Prasad

refused to even conduct a physical examination of Mr. Knox

         17.    In or about April 2020, Mr. Knox again requested medical treatment from

Dr. Prasad for the continued swelling in his groin area, pain, and blood in his urine. Dr.

Prasad again refused to perform a physical examination of Mr. Knox, stating that

performing a physical examination of Mr. Knox would be against the rules. Dr. Prasad,

however, never specified what this "rule" was. Once again, Mr. Knox's request for

medical treatment for his injuries fell on deaf ears.

         18.    On or about August 12, 2020, only after the filing of Mr. Knox’s initial

complaint, Mr. Knox was sent to see an outside specialist in urology. After performing a

physical examination, the urologist informed Mr. Knox that he believed a foreign body

was still stuck in Mr. Knox’s urethra. The specialist also advised that Mr. Knox would

need further medical treatment to have that foreign body removed.

         19.    In September 2020, an outside specialist in urology performed surgery on

Mr. Knox and removed the foreign body from his urethra, thus, confirming that a foreign

body was lodged in Mr. Knox’s urethra since September 28, 2019.

         20.    For almost an entire year, the individuals identified herein have repeatedly

refused and/or ignored Mr. Knox’s requests for one-on-one therapy and medical attention

to address the foreign body in his urethra and the pain and discomfort he was

experiencing. These individuals have known and have been deliberately indifferent to the

fact that Mr. Knox continued to experience pain and suffering resulting from having a

foreign body lodged in his urethra. Indeed, Mr. Knox would not have suffered his initial

injury or, at the very least, not suffered continued pain and discomfort for more than a




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year if even one of these individuals had acted in response to any of Mr. Knox's pleas for

help.

                                   CLAIM FOR RELIEF
 (42 U.S.C. § 1983—Eighth Amendment Violation: Failure to Provide Medical Care)

          21.   Mr. Knox re-alleges the paragraphs above as if fully restated herein.

          22.   At all times relevant to the allegations in this Complaint, the individuals

identified herein acted or failed to act under color of state law.

          23.   These individuals are persons under 42 U.S.C. § 1983.

          24.   The individuals knew of Mr. Knox’s suicidal ideation and self-harm

concerns as well as his resulting serious medical condition and accompanying severe pain.

Nevertheless, with knowing and deliberate indifference to Mr. Knox’s Eighth Amendment

right to be free from cruel and unusual punishment, they unreasonably refused him

necessary medical care that would have prevented the injury and/or the resulting pain and

discomfort. The individuals continue to deny necessary medical assistance.

          25.   The acts and/or omissions of the individuals identified herein were the

legal and proximate cause of Mr. Knox’s injuries, the exacerbation of those injuries and

Mr. Knox needlessly continuing to experience severe pain and discomfort for more than a

year.

          26.   The acts and/or omissions of each individual caused Mr. Knox damages in

that he suffered, and continued to suffer, physical injury and prolonged physical and

mental pain from the failure to treat his serious medical conditions.

          27.   The acts and/or omissions of each individual as described herein

intentionally deprived Mr. Knox of the securities, rights, privileges, liberties, and

immunities secured by the United States Constitution, and caused him other damages.


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                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, Christopher Knox, respectfully requests this Court enter

judgment in his favor and against Defendant, and grant him the following relief:

         A.     Discovery to obtain records as well as the necessary information to

identify the individuals described in the Amended Complaint's factual allegations;

         B.     Leave to amend the Amended Complaint to add additional individual

defendants based on this discovery;

         C.     An order requiring Defendant to establish policies and procedures to

prevent the violation of Mr. Knox’s rights;

         D.     Compensatory and consequential damages, including damages for

physical pain, emotional distress, loss of enjoyment of life, and other pain and suffering

as allowed by law and in an amount to be determined at trial, awarded against Defendant

in her individual and official capacity;

         E.     Punitive damages as allowed by law and in an amount to be determined at

trial, awarded against Defendant in her individual and official capacity;

         F.     Injunctive relief ordering Defendant to provide Mr. Knox with the

necessary medical care;

         G.     Attorneys’ fees and costs associated with this action as allowed by law;

         H.     Pre- and post-judgment interest at the lawful rate; and

         I.     Any further relief that this Court deems just and proper, and any other

relief as allowed by law.




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Dated: October 2, 2020                Respectfully submitted,

                                     Christopher Knox (#B-61090)


                                     By:   /s/ Kaitlin M. Phillips
                                      One of the Attorneys for Christopher Knox




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